         Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 1 of 43




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IRVIN MURRAY, MAURICE SCOTT,                             :
DOLORES MCFADDEN, FAITH ANNE                             :
BURDICK, EDWIN JONES, and ALL OTHER                      :
HOMELESS RESIDENTS OF THE                                :
ENCAMPMENTS AT VON COLLN FIELD,                          :
JEFFERSON AND RIDGE, and the AZALEA                      :
GARDENS                                                  :
                    Plaintiffs,                          :        Case Number
     v.                                                  :        2:20-cv-04018-ER
                                                         :
THE CITY OF PHILADELPHIA                                 :
and                                                      :
MAYOR JIM KENNEY                                         :
                     Defendants.                         :
                                                         :


                                           WITNESS LIST

        Defendants, the City of Philadelphia and Mayor James Kenney, reserve the right to call the

following witnesses in support of their Response in Opposition to Plaintiffs’ Motion for a Temporary

Restraining Order, as well as additional witnesses in rebuttal if it may become necessary:



Eva Gladstein
Deputy Managing Director for Health and Human Services for the City of Philadelphia

Liz Hersh
Director of Homeless Services for the City of Philadelphia

Dennis Boylan
President of the Board of the Logan Square Neighborhood Association of Philadelphia
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 2 of 43




        EXHIBIT 1
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 3 of 43




                       HANDBILL




                              1
         Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 4 of 43




                                       NOTICE
You are not authorized to use Von Colln Playground and Field or other Fairmount Park property in the City
of Philadelphia to erect a tent or other structure, or to otherwise encamp or stay, at this location. The
conditions violate Philadelphia Code Title 4 (Property Maintenance, Administrative, and Fire Codes);
Philadelphia Code §§ 6-205, 6-206, 10-615, 15-601, and 15-604; the regulations governing the Fairmount
Park system, and the Mayor and Board of Health’s Emergency Orders and Regulations Governing the
Control and Prevention of COVID-19. Since mid-June, you have been warned that you cannot continue to
occupy this space with tents and other structures.

The individuals currently occupying Von Colln Playground and Field have expressed the intention to use
Von Colln Playground and Field and other Fairmount Park property for long-term outdoor living, for a
vulnerable population. Von Colln Playground and Field is zoned as SP-PO-A, which does not allow for it
to be used for long-term outdoor living for a vulnerable population. See Phila. Code §§ 14-407 and 14-
602(6). In addition, living facilities for vulnerable populations must meet stringent Building Code, Fire
Code, and other licensing requirements prior to opening. See Phila. Code Titles 4, 6, 9, and 14.

As revealed by the overdose death at the encampment on Von Colln Playground and Field, there has been
unlawful drug use in the encampment. Drug use can lead to infection at the injection site, transmittal of
communicable diseases among users, and the spread of disease to the general public. Drug use, which can
result in overdoses, also increases the need for first responders to go to the premises, putting those first
responders at risk.

Drug sales are linked to violence and risk of injury or death, including injury or death to community
members who are not involved in drug use or sales. The increased risk of violence has additional injurious
effects on the entire neighborhood, including children.

In fact, in recent days, there have been two separate stabbing incidents near the encampment; both incidents
remain under investigation. In the first incident, the victim, who was stabbed multiple times, was a resident
of the encampment; as last reported, this victim remains in critical condition. In the second incident, the
assailant is an individual who is experiencing homelessness. These incidents of extreme violence are
troubling on their own, but they are particularly troubling in light of the apparent intent to invite children
to the encampment as evidenced by the establishment and maintenance of a children’s play area.

The conditions at the encampment are unsanitary, lacking any running water, which means there are
inadequate handwashing, restroom, and other washing facilities. Siphoning off water from a City water
fountain is neither a lawful nor appropriate source of running water. Neighbors and nearby businesses
have reported that they are now seeing feces in parking lots and other public spaces throughout the area.
Human excreta and the lack of adequate personal and domestic hygiene have been implicated in the
transmission of many infectious diseases including cholera, typhoid, hepatitis, polio, cryptosporidiosis,
ascariasis, and schistosomiasis. Regular handwashing, social distancing, and routine mask wearing are
necessary to reduce the risk of the spread of COVID-19.

Residents of the encampment are using dirty and soiled bed linens. Dirty and soiled bed linens contain
allergens such as dust mites, pet dander, mold, and bacteria. Allergens and like irritants can trigger skin
conditions, asthmatic reactions, difficulty breathing, trouble sleeping due to labored breathing and cough,
and transmission of communicable diseases, including COVID-19, which spreads easily through coughs
and sneezes. Allowing individuals from different households to encamp, without appropriate social
distancing and other health safety measures, and in excess of the social restrictions on gatherings, can
cause COVID-19 to spread. In addition, inviting individuals from different households to routinely visit
to bring materials to Von Colln Playground could result in COVID-19 spreading throughout the
community.
WRITTEN NOTICE FIRST DISTRIBUTED ON: July 10, 2020
           Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 5 of 43

There are inadequate food safety precautions which could lead to the outbreak of a food borne illness.
Further, the use of grills and other cooking appliances in an area with densely packed tents, which are highly
flammable, and surrounded by vegetation, presents a significant fire risk. The unlawful utility hook-up
elevates the risk of fire.

The continued use of this property is damaging the land, trees, vegetation, and other Fairmount Park
property that the City holds and maintains for the use and enjoyment of the general public.

The conditions pose an immediate hazard and danger to the life, health, safety, and welfare of the
individuals in the tents, the nearby residents, first responders, and the public at large. Immediate compliance
is necessary to protect the public health.

You must remove your property and leave this location as soon as possible but by no later than JULY 17,
2020 AT 9:00 A.M. Personal property and debris remaining at this location will be removed by the City
of Philadelphia on JULY 17, 2020 at 9:00 A.M.

Personal property, as designated by the City of Philadelphia, will be stored by the City for no more than 30
days. All stored personal property not retrieved within 30 days will be considered abandoned and will be
disposed of permanently. Debris and property deemed a hazard to the public health, safety, or welfare will
be destroyed immediately.

        Examples of personal property and examples of debris are as follows:

                  PERSONAL PROPERTY                                             DEBRIS
 • Tents                                                • Unsanitary or infested clothing, bedding, or
                                                          tents and other items determined by the City to
 • Stoves and grills                                      be a threat to public and/or municipal workers’
                                                          health, safety, or welfare
 • Pots, pans, and cooking utensils
                                                        • Newspapers and cardboard
 • Medicine
                                                        • Loose paper and plastic debris
 • Sleeping bags and blankets (must be sanitary and
   not infested)                                    • Food or other perishable items

 • Clothing (must be sanitary and not infested)         • Garbage

 • Backpacks                                            • Empty cans and bottles

 • Hand-held tools                                      • Scrap metal

 • Personal transport device                            • Drug paraphernalia

 • Vital documents, files, and folders                  • Shopping Carts

If you would like to seek assistance from the City of Philadelphia in finding alternative shelter, medical
assistance, or other treatment, please call: Homeless Outreach anytime at 215-232-1984 or the
Department of Behavioral Health and Intellectual disAbility Services member hotline at 888-545-
2600. If you do not have access to a telephone, you may reach the City by going to 1430 Cherry
Street or 804 North Broad Street, Monday-Friday, 7AM -5PM.




WRITTEN NOTICE FIRST DISTRIBUTED ON: July 10, 2020
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 6 of 43




                   WALL POSTING
      Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 7 of 43




                NOTICE
DATE POSTED:                       7/10/2020

      The City of Philadelphia has not authorized you to use this property
to erect a tent or other structure, or otherwise camp, at this location. The
conditions pose a hazard to the life, health, safety, and welfare of the
individuals in the tents, the nearby residents, and the public at large. You
must remove your property and leave this location as soon as possible but
by no later than JULY 17, 2020 AT 9:00 A.M.

     If you do not leave this location and remove your personal property
by JULY 17, 2020 AT 9:00 A.M. you will be issued a citation by the City
of Philadelphia for violating the Philadelphia Code under Titles 4, 6, 9,
10, 14, and 15, Fairmount Park’s Regulations, and the Mayor and Board
of Health’s Emergency Orders and Regulations Governing the Control
and Prevention of COVID-19.

     Personal property and debris remaining at this location will be
removed by the City of Philadelphia on JULY 17, 2020 AT 9:00 A.M.
No extensions will be granted.

      Personal property, as designated by the City of Philadelphia, will be
stored by the City for no more than 30 days. All stored personal property
not retrieved within 30 days will be considered abandoned and will be
disposed of permanently.

     Debris and property deemed a threat to the public health, safety, or
welfare will be destroyed immediately.



   For Assistance in Seeking Shelter or Services: Homeless
   Outreach Hotline at 215-232-1984 or the Department of
    Behavioral Health and Intellectual disAbility Services
              member hotline at 888-545-2600
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 8 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 9 of 43




        EXHIBIT 2
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 10 of 43




                       HANDBILL




                               1
        Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 11 of 43




                   SECOND NOTICE
You are not authorized to use Von Colln Playground and Field, the Azalea Garden, any portion of
the Benjamin Franklin Parkway, or other Fairmount Park property in the City of Philadelphia
(hereinafter, collectively, “Fairmount Park Property”) to erect a tent or other structure, or to
otherwise encamp or stay, at this location. The conditions violate Philadelphia Code Title 4
(Property Maintenance, Administrative, and Fire Codes); Philadelphia Code §§ 6-205, 6-206, 10-
615, 15-601, and 15-604; the regulations governing the Fairmount Park system, and the Mayor
and Board of Health’s Emergency Orders and Regulations Governing the Control and Prevention
of COVID-19. Since mid-June, you have been repeatedly warned that you cannot occupy
Fairmount Park property with tents and other structures. In addition, on July 10, 2020, this
property was posted with a notice directing you to remove your possessions and leave this area by
no later than July 17, 2020.

The individuals currently occupying Fairmount Park Property have expressed the intention to use
Fairmount Park Property for long-term outdoor living, for a vulnerable population. Fairmount
Park Property is zoned as SP-PO-A, which does not allow for it to be used for long-term outdoor
living for a vulnerable population. See Phila. Code §§ 14-407 and 14-602(6). In addition, living
facilities for vulnerable populations must meet stringent Building Code, Fire Code, and other
licensing requirements prior to opening. See Phila. Code Titles 4, 6, 9, and 14.

There has been consistent unlawful drug use in the encampments. There has been at least one
overdose death in the encampment. If drugs are used intravenously, it can lead to infection at the
injection site, transmittal of communicable diseases among users, and the spread of disease to the
general public. In addition, it has been observed that occupants of the encampment have been
using a drug commonly known as K-2. When a person uses K-2, they experience severe cognitive,
behavioral, and physical symptoms including exhibiting violent behavior, increased heart rate and
other cardiovascular symptoms, exhibiting disorientation and suicidal tendencies, and
experiencing severe, repeated vomiting. Repeated vomiting can lead to asphyxiation and/or
dehydration, an especially serious condition given the severe heat that Philadelphia is presently
experiencing.

Drug use, which can result in overdoses, also increases the need for first responders to go to the
premises, putting those first responders at risk. In fact, between June 25 and July 29, 2020 there
have been 21 calls for emergency services, inclusive of calls responding to complaints of overdose
and symptoms of overdose.

Drug sales are linked to violence and risk of injury or death, including injury or death to community
members who are not involved in drug use or sales. The increased risk of violence has additional
injurious effects on the entire neighborhood, including children.

In fact, there were two separate stabbing incidents near the encampment; both incidents remain
under investigation. In the first incident, the victim, who was stabbed multiple times, was a
resident of the encampment; that victim was in critical condition when initially in the hospital. In
the second incident, the assailant is an individual who is experiencing homelessness. These
incidents of extreme violence are troubling on their own, but they are particularly troubling in light

WRITTEN NOTICE FIRST DISTRIBUTED ON: July 10, 2020
WRITTEN NOTICE RE-DISTRIBUTED ON: August 17, 2020
        Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 12 of 43

of the presence of some children in the encampment and the apparent intent to invite additional
children to enter and remain in the encampment as evidenced by the establishment and
maintenance of a children’s play area.

The conditions at the encampment are unsanitary, lacking any running water, which means there
are inadequate handwashing, restroom, and other washing facilities. Siphoning off water from a
City water fountain is neither a lawful nor appropriate source of running water. Neighbors and
nearby businesses have reported that they are now seeing feces in parking lots and other public
spaces throughout the area. Human excreta and the lack of adequate personal and domestic
hygiene have been implicated in the transmission of many infectious diseases including cholera,
typhoid, hepatitis, polio, cryptosporidiosis, ascariasis, and schistosomiasis. Regular
handwashing, social distancing, and routine mask wearing are necessary to reduce the risk of the
spread of COVID-19.

Residents of the encampment are using dirty and soiled bed linens. Dirty and soiled bed linens
contain allergens such as dust mites, pet dander, mold, and bacteria. Allergens and like irritants
can trigger skin conditions, asthmatic reactions, difficulty breathing, trouble sleeping due to
labored breathing and cough, and transmission of communicable diseases, including COVID-19,
which spreads easily through coughs and sneezes. Allowing individuals from different
households to encamp, without appropriate social distancing and other health safety measures,
and in excess of the social restrictions on gatherings, can cause COVID-19 to spread. In
addition, inviting individuals from different households to routinely visit to bring materials to
Fairmount Park Property could result in COVID-19 spreading throughout the community.

There are inadequate food safety precautions which could lead to the outbreak of a food borne
illness. Further, the use of grills and other cooking appliances in an area with densely packed tents,
which are highly flammable, and surrounded by vegetation, presents a significant fire risk. The
unlawful utility hook-up elevates the risk of fire.

By remaining in this encampment, the occupants are at grave risk of being killed or injured by
severe weather events such as hurricanes and tropical storms. High winds can topple trees and
produce deadly flying debris. Heavy rains can produce flash floods. Lying and/or sitting on the
ground in tents, that are close together, during a weather event exponentially increases the risk that
one or more encampment occupants could be struck by lightning and/or electrocuted. That risk is
further increased by the presence of the unlawful utility and water hook-ups, both of which are
excellent conductors of electricity. In fact, since this encampment was erected, Tropical Storm
Isaias struck Philadelphia and caused heavy flooding throughout and around the portions of the
Fairmount Park Property that the encampment occupies. In light of the fact that scientists are
calling for an “extremely active 2020 Atlantic hurricane season,” it is profoundly dangerous for
anyone to remain in the encampment.

The continued use of Fairmount Park Property is damaging the land, trees, vegetation, and other
Fairmount Park Property that the City holds and maintains for the use and enjoyment of the general
public.

The conditions pose an immediate hazard and danger to the life, health, safety, and welfare of the
individuals in the tents, the nearby residents, first responders, and the public at large. Immediate
compliance is necessary to protect the public health.


WRITTEN NOTICE FIRST DISTRIBUTED ON: July 10, 2020
WRITTEN NOTICE RE-DISTRIBUTED ON: August 17, 2020
        Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 13 of 43

You must remove your property and leave this location as soon as possible but by no later than
AUGUST 18, 2020 AT 9:00 A.M. Personal property and debris remaining at this location will
be removed by the City of Philadelphia on AUGUST 18, 2020 at 9:00 A.M.

Personal property, as designated by the City of Philadelphia, will be stored by the City for no more
than 30 days. All stored personal property not retrieved within 30 days will be considered
abandoned and will be disposed of permanently. Debris and property deemed a hazard to the
public health, safety, or welfare will be destroyed immediately.

       Examples of personal property and examples of debris are as follows:

               PERSONAL PROPERTY                                       DEBRIS
• Tents                                            • Unsanitary or infested clothing, bedding, or
                                                     tents and other items determined by the City
• Stoves and grills                                  to be a threat to public and/or municipal
                                                     workers’ health, safety, or welfare
• Pots, pans, and cooking utensils
                                                   • Newspapers and cardboard
• Medicine
                                                   • Loose paper and plastic debris
• Sleeping bags and blankets (must be sanitary
  and not infested)                            • Food or other perishable items

• Clothing (must be sanitary and not infested)     • Garbage

• Backpacks                                        • Empty cans and bottles

• Hand-held tools                                  • Scrap metal

• Personal transport device                        • Drug paraphernalia

• Vital documents, files, and folders              • Shopping Carts

If you would like to seek assistance from the City of Philadelphia in finding alternative shelter,
medical assistance, or other treatment, please call: Homeless Outreach anytime at 215-232-
1984 or the Department of Behavioral Health and Intellectual disAbility Services member
hotline at 888-545-2600. If you do not have access to a telephone, you may reach the City by
going to 1430 Cherry Street or 804 North Broad Street, Monday-Friday, 7AM -5PM.




WRITTEN NOTICE FIRST DISTRIBUTED ON: July 10, 2020
WRITTEN NOTICE RE-DISTRIBUTED ON: August 17, 2020
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 14 of 43




                   WALL POSTING
      Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 15 of 43



SECOND NOTICE
DATE FIRST POSTED:    7/10/2020
DATE RE-POSTED:    8/17/2020

      The City of Philadelphia has not authorized you to use this
property to erect a tent or other structure, or otherwise camp, at this
location. The conditions pose a hazard to the life, health, safety, and
welfare of the individuals in the tents, the nearby residents, and the
public at large. You must remove your property and leave this location
as soon as possible but by no later than AUGUST 18, 2020 AT 9:00
A.M.

      If you do not leave this location and remove your personal property
by AUGUST 18, 2020 AT 9:00 A.M. you will be issued a citation by the
City of Philadelphia for violating the Philadelphia Code under Titles 4, 6,
9, 10, 14, and 15, Fairmount Park’s Regulations, and the Mayor and Board
of Health’s Emergency Orders and Regulations Governing the Control
and Prevention of COVID-19.

    Personal property and debris remaining at this location will be
removed by the City of Philadelphia on AUGUST 18, 2020 AT 9:00
A.M. No extensions will be granted.

      Personal property, as designated by the City of Philadelphia, will be
stored by the City for no more than 30 days. All stored personal property
not retrieved within 30 days will be considered abandoned and will be
disposed of permanently.

     Debris and property deemed a threat to the public health, safety, or
welfare will be destroyed immediately.


   For Assistance in Seeking Shelter or Services: Homeless
   Outreach Hotline at 215-232-1984 or the Department of
    Behavioral Health and Intellectual disAbility Services
              member hotline at 888-545-2600
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 16 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 17 of 43




        EXHIBIT 3
            Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 18 of 43
                                                Wednesday, August 19, 2020 at 22:10:50 Eastern Daylight Time

Subject: Housing Now Protest Camp
Date: Saturday, June 13, 2020 at 10:21:12 AM Eastern Daylight Time
From: Eva Gladstein
To:      jose marco, Sterling Johnson
CC:      Brian Abernathy, James Engler

Dear Sterling and Jose,

We have been told that you are representaKves of the HOUSING NOW PROTEST CAMP on the Parkway. If you
are not the right people to reach out to please let me know if there is someone else with whom we should
communicate.

We have heard you say that you do not trust government and would rather be leS alone. You know that is not
possible. You won’t be able to stay camping on the Parkway indeﬁnitely.

We would like to work with you to ﬁnd a pathway forward toward a peaceful, fair soluKon. That can only be
achieved by talking to each other. We are asking you – or other representaKves of the group to meet with us.
We agree that we should conduct any discussions with full transparency, including release of statements to
the press.

We have seen your demands and principles. We are coming to the table with a starKng oﬀer to show good
faith that we are entering this conversaKon in earnest:
    1. We have hotel rooms available right now for people who are homeless and at high risk of COVID –
       those who are 65 or older or have underlying health condiKons; more hotel rooms will be available for
       other homeless individuals in the near future.
    2. We respect your right to be self-governing. We will seriously consider acKng on your desire to establish
       a temporary sancKoned encampment. Please tell us what your plans are for a camp that is safe for the
       people there and the surrounding community and locaKons you would like us to consider.
    3. We are willing to issue an execuKve order regarding Kny home villages. We will work with you to set up
       the ﬁrst such place.
    4. We agree that the police should have less of a role with homelessness. We would like to hear from you
       what that means and see what acKons we can take both immediately and long-term.

We will not be able to meet all your demands. But we can and will make life be`er for people of color and
people who are homeless if you or other representaKves of the group will work with us. Please email me back
with your response so we can get started.

Regards,

Eva


Eva Gladstein (she/her/hers)
Deputy Managing Director for Health & Human Services
City of Philadelphia
Municipal Services Building, Suite 1430
1401 John F. Kennedy Blvd.
Philadelphia PA 19102
Oﬃce: 215 686 3696


                                                                                                           Page 1 of 2
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 19 of 43




                                                                   Page 2 of 2
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 20 of 43




        EXHIBIT 4
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 21 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 22 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 23 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 24 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 25 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 26 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 27 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 28 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 29 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 30 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 31 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 32 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 33 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 34 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 35 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 36 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 37 of 43
Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 38 of 43
       Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 39 of 43




                               CITY OF PHILADELPHIA

                             OFFICE OF THE MAYOR
                         DEPARTMENT OF PUBLIC HEALTH

 AMENDMENT REGARDING ADDITIONAL PERMITTED ACTIVITES TO THE

  EMERGENCY ORDER ALLOWING LIMITED REOPENING OF BUSINESSES,
    ADVISING PHILADELPHIANS THAT THEY ARE SAFER AT HOME, AND
   ESTABLISHING SAFETY MEASURES TO PREVENT THE SPREAD OF 2019
                  NOVEL CORONAVIRUS (COVID-19)

                 MOVING FROM YELLOW PHASE OF REOPENING
                        TO MODIFIED GREEN PHASE


WHEREAS, the 2019 novel coronavirus disease, COVID-19, can cause severe disease and
death, particularly in older adult and other vulnerable populations; and

WHEREAS, on March 6, 2020, in response to the emerging spread of COVID-19, the
Governor of Pennsylvania issued a Proclamation of Disaster Emergency; and

WHEREAS, on March 11, 2020, the World Health Organization declared the COVID-19
outbreak a pandemic, or global epidemic; and

WHEREAS, on March 12, 2020, the City’s Board of Health by emergency regulation added
COVID-19 to the City’s list of reportable and quarantinable diseases; and

WHEREAS, on March 17, 2020, the Mayor and the Health Commissioner jointly issued an
Emergency Order prohibiting operation of non-essential businesses to prevent the spread of
COVID-19; and

WHEREAS, on March 19, 2020, the Governor and the Secretary of the Pennsylvania
Department of Health issued orders requiring all non-life-sustaining businesses to close
across the Commonwealth, to help stop the spread of the virus and the Governor and
Secretary updated the aforementioned orders and list of life-sustaining and non-life
sustaining businesses on March 20, 2020 and multiple times thereafter; and

WHEREAS, on March 22, 2020, the Mayor and the Health Commissioner jointly issued an
Emergency Order Temporarily Prohibiting Operation of Non-Essential Businesses and
                                              1
       Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 40 of 43




Congregation of Persons to Prevent the Spread of COVID-19, which superseded the
Emergency Order issued by the Mayor and Health Commissioner dated March 17, 2020, and
which was approved as a regulation of the City by the Board of Health on March 26, 2020,
which expressly authorized the Health Commissioner to issue such additional orders as the
Commissioner determines are necessary or appropriate to limit the spread of COVID-19; and

WHEREAS, on April 15, 2020, the Secretary of Health of the Commonwealth of
Pennsylvania issued an Order “Directing Public Health Safety Measures for Businesses
Permitted to Maintain In-person Operations,” which requires comprehensive safety measures
to be employed in all businesses maintaining physical operations, including standards for
cleaning and disinfecting high-touch areas, establishing protocols for businesses exposed to
probable or confirmed cases of COVID-19, limiting the numbers of employees on the
premises and ensuring access to protective and sanitary equipment and supplies; and

WHEREAS, on April 23, 2020, the Governor announced a Plan for Pennsylvania that set
residents and businesses on a path to recovery from the COVID-19 pandemic while
continuing to protect life from the dangers of this deadly virus, which included, inter alia,
Red, Yellow, and Green Phases of reopening; and

WHEREAS, the Mayor and Health Commissioner determined on May 29, 2020, that
Philadelphia could move to the Yellow Phase with additional, Philadelphia-specific
restrictions that would apply in addition to restrictions established by the Governor,
including limitations on outdoor dining, and executed an Order entitled “Emergency Order
Allowing Limited Reopening of Businesses, Advising Philadelphians hat They are Safer at
Home, and Establishing Safety Measures to Prevent the Spread of 2019 Novel Coronavirus
(COVID-19): Yellow Phase of Reopening” (“Yellow Phase Order”) to implement that
decision, effective on the date determined by the Governor that the City of Philadelphia
should move into the Yellow Phase; and

WHEREAS, on or around May 28, 2020, the City’s Department of Public Health released
Safe Mode: Guidelines for Safer Operations During the COVID-19 Pandemic, which
provides specific reopening guidance for specific types of facilities that may be able to open
or expand operations during the Yellow Phase; and

WHEREAS, on June 4, 2020, the Governor and Secretary of Health amended their
respective orders for Limited Opening of Businesses, Lifting of Stay at Home Requirements,
and Continued Aggressive Mitigation Efforts, to apply to Philadelphia effective June 5th,
which generally moved the City into the Yellow Phase pursuant to the Governor’s
guidelines; and



                                               2
       Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 41 of 43




WHEREAS, since that time, the Mayor and Health Commissioner, in recognition that
cautious reopening with constant review of potential impacts on public health is in the best
interests of Philadelphia, have issued a series of Orders gradually easing restrictions with
respect to, inter alia, outdoor dining, use of pools and personal grooming services;

WHEREAS, although the Governor announced that Philadelphia was authorized to join
other southeastern Pennsylvania counties in moving to the Green Phase of reopening on June
26, 2020, the Mayor and Health Commissioner, in consideration of public health data and the
noted effects on public health in June in states that have hastily reopened, including marked
increases of positively identified COVID-19 cases, has taken a cautious approach to moving
to the Green Phase; and

WHEREAS, Philadelphians are working hard to turn back COVID-19, and they are
succeeding. Because of social-distancing actions and the various City Orders protecting the
public health, daily COVID-19 case counts have fallen significantly from counts in mid-
April and mid-May. The rate of community spread of COVID-19 in Philadelphia remains
high, however, and measures to continue to reduce its spread must be maintained and
observed; and

WHEREAS, on June 26, 2020, the Mayor and Health Commissioner issued an order
requiring the wearing of masks in many indoor and outdoor situations, and on July 1, 2020,
the Secretary of Health issued a similar order; and

WHEREAS, the Mayor and Health Commissioner have determined that, under applicable
safety requirements and guidelines, certain additional activities are within the range of
acceptable activities that may resume in a modified Green Phase of reopening; and

WHEREAS, pursuant to authority set forth in The Philadelphia Code and The Philadelphia
Home Rule Charter, the Mayor has broad authority to set forth limitations on public activities
during a state of national health emergency; and

WHEREAS, Sections 6-205 and 6-206 of The Philadelphia Code provide that the
Department of Public Health may by order forbid the congregation of persons when
necessary to prevent the further spread of a communicable and quarantinable disease and
may take such other measures as are necessary to prevent the spread of such disease;

NOW, THEREFORE, James F. Kenney, Mayor of the City of Philadelphia, and Dr.
Thomas A. Farley, Health Commissioner of the City of Philadelphia, pursuant to all authority
granted under the Philadelphia Home Rule Charter, The Philadelphia Code, the Regulations
of the Board of Health of the City of Philadelphia and applicable state law, hereby ORDER
as follows:

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          Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 42 of 43




Section 1.     Additional Activities Permitted In the Move to a Modified Green Phase.

       The following activities may be resumed, provide they are conducted pursuant to all
applicable guidance and requirements of the Commonwealth and the City, including
occupancy and capacity limitations, masking and social distancing requirements:
          a.   Shopping malls;
       b.     Schools at all levels, including primary, secondary (high school), trade and
technical schools and higher education;
          c.   Libraries and museums;
          d.   Formally organized and non-organized outdoor sports activities for youths and
adults;
       e.     Casinos, provided that food and beverage service and smoking are not
permitted in any indoor area;
          f.   Outdoor gatherings and small events of up to 50 people.
          g.   Indoor gatherings of up to 25 people.
       h.      Drive in events, where individuals remain in their own vehicles for the
duration of the event with limited exceptions to obtain food or use restroom facilities, of up
to 250 people.


Section 2. Certain Operations that Remain Prohibited.
       a.      Indoor dining, the operation of gyms and indoor fitness facilities, and the
operation of indoor theaters and indoor performances remain prohibited at this time.
          b.   Indoor gatherings of more than 25 people remain prohibited at this time.

Section 3.     Interpretation and Implementation.
       a.      Unless otherwise stated, this Order shall be interpreted as consistent with
applicable orders and requirements of the Commonwealth of Pennsylvania. The City shall
continue to adhere to waivers, exemptions, or recategorizations issued by the Commonwealth
from its emergency orders, subject to all applicable laws and regulations. The City shall
continue reviewing inquiries and submissions regarding the applicability of the City’s orders
to businesses and activities.
       b.     Failure to comply with this Order shall result in orders to cease operations and
the imposition of penalties, fines, license suspensions, and other remedies as provided for by
law.

                                               4
       Case 2:20-cv-04018-ER Document 14-1 Filed 08/19/20 Page 43 of 43




      c.      This Order supplements the Yellow Phase Order, as amended, and shall
remain in effect until rescinded, superseded, or amended by further Order.


Date: July 3, 2020




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